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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,
      Plaintiff,                                           Criminal Case No. 21-cr-00195

 vs.

 SALVADOR SANDOVAL, JR.,                                           TRIAL BRIEF
      Defendant.


                                          TRIAL BRIEF

       COMES NOW, Salvador Sandoval, through his counsel, William L. Kutmus and Trever

T. Hook, and submits the following Trial Brief:

       The defendant Sandoval is charged with, among other counts, four counts of violating 18

U.S.C. § 111(a)(1); and specifically, and allegedly, by forcibly committing one or more of the

following acts—assaulting, resisting, opposing, impeding, intimidating, or interfering with an

officer of the Metropolitan Police Department; but above and beyond that, while such officer(s)

were engaged in official duties and there was physical contact initiated by the accused Sandoval

with the officer(s) or during the accused’s attempt to commit another felony. (Indictment; Counts

2, 3, 4 and 5.) And the indictment doesn’t tell us much at all as to what Sandoval supposedly did

to violate this section of the criminal code (indeed, neither do all the other counts leveled against

him—other than providing a date and time, we are factually told nothing at all what this defendant
supposedly did.

       That said, and after some exchange of information, the best that Sandoval can come up

with is that the government complains that, on that January 6, 2021 day, Sandoval purportedly

pushed an officer off of him who ran (or otherwise was pushed) into Sandoval, pushed an officer

away from a person who was prone on the ground in a defenseless state, and made contact (twice)

with riot shields held by officers (without otherwise physically touching the officers themselves).

       Given the bare-bones allegations of the indictment (basically, just summarizing the
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purported statute without providing meaningful factual support other than date and time) it

behooves us to first consider the actual terms of the statute. The statute provides (with the

following elements): Whoever
              (1) forcibly assaults, resists, opposes, impedes, intimidates, or interfers

                   (2) with [a metropolitan police officer]

                   (3) while engaged in or on account of the performance of official duties

                   (4) where such acts involve physical contact with the officer of that assault or the

intent to commit another felony is guilty of violating § 111(a)(1).

        Under the language of the statute, there are three levels of forcible assault specified: (1)

simple assault, (2) ‘all other cases’ of forcible assault, namely instances of forcible assault

that involve physical contact with the victim of the assault or the intent to commit another

felony; and (3) ‘all other cases’ of forcible assault where the defendant uses a deadly or

dangerous weapon or

inflicts bodily injury.” United States v. Gutierrez, 745 F.3d 463, 467 (11th Cir. 2014). A “simple

assault” is a willful attempt to inflict injury on another, including a threat with present opportunity,

with reasonable apprehension of the same in the victim, but where no physical contact occurs. Id.

For simple assault, the maximum penal penalty is one year. 18 U.S.C. § 111(a)(1). And for two

of the four indictment charges under this section, we will see that the government will not prove

actual physical contact between Sandoval and the person of the involved officer; instead, any such

contact was with riot shields held by two of the officers. And in any case, where the contact—

person-to-person or otherwise—was initiated by the officer, the defendant is not considered to

have “inflicted” the assault let alone any resulting injury. United States v. Zahawa, 719 F.3d 555

(6th Cir. 2013).
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        The government for each of the § 111 indictment charges alleges that Sandoval committed

the assault offense by initiating actual physical contact with the officer (but not by using a weapon

or other device that inflicted injury on the officer). For this assault level, a defendant like Sandoval

can be guilty of the §111(a)(1) offense indictment charge only if he (a) “forcibly assaulted” the

person described in the indictment, (2) the person assaulted was a Federal officer performing an

official duty, (3) the defendant’s acts resulted in physical contact with the person assaulted or

involved the intent to commit another felony and (4) the other elements of the simple assault

offense charge, including the “willful attempt” to inflict injury, are shown. (Sandoval is not

charged under subsection (b) of the statute, the most serious charge, which includes an actual

bodily injury element.) Gutierrez, 745 F.3d at 467.

        With respect to these offense elements, a “forcible assault” is “an intentional threat or

attempt to cause serious bodily injury when the ability to do so is apparent and immediate”; that

is, the defendant must have “the present ability to inflict bodily harm upon another” combined

with the attempt (intent) to do so. 11 Cir. Uniform Instruction O1.1; 8 th Cir. Uniform Instruction

6.18.111. And the adverb “forcibly” applies to “each of the six alternative acts [verbs] that violate

§ 111”—not just the first listed “assault” alternative act; this is based on the wording of the statute,

the Series-Qualifier Canon of statutory interpretation, and as “a matter of grade-school grammar”

(an adverb “necessarily modifies each of the listed verbs that follow it”). United States v. Wilkins,

25 F.4th 596, 600-01 (8th Cir. 2022) (citing United States v. Gumbs, 964 F.3rd 1340, 1347 (11th Cir.

2020), cert. denied, 141 S. Ct. 128 (2021)).

        Whether the assault victim was in fact acting as an officer or employee, and whether he or

she was performing federal “investigative, inspection, or law enforcement functions” at the time

of the assault is a fact question that the government must prove beyond a reasonable doubt. United
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States v. Oakie, 12 F.3d 1436, 1440 (8th Cir. 1993). To be “engaged in . . . the performance of [the

officer’s] official duties” thus means the officer at the time of the assault was acting within the

scope of his employment as opposed to carrying out personal business or engaging in a private

matter. United States v. Street, 66 F.3d 969, 978 (8th Cir. 1995).

       The government must show the assault was intentional (based on the “willful” requirement,

even though that particular term does not appear in the statute itself). United States v. Feola, 420

U.S. 671, 684 (1975); Potter v. United States, 691 F.2d 1275, 1280 (8th Cir. 1982). That burden

requires a showing that the defendant acted “voluntarily and intentionally” under the beyond a

reasonable doubt standard. United States v. Hanson, 618 F.2d 1264-65 (8th Cir. 1980). The bodily

injury intended to be inflicted must at the minimum constitute some type of injury to the body,

however temporary, such as a cut, abrasion, bruise, burn or the like. United States v. Myers, 972

F.2d 1566, 1573 (11th Cir. 1992); see also 18 U.S.C. § 1365(g)(4). (However, actual bodily injury

need not be shown as the defendant Sandoval is not charged under subsection (b) of the statute,

where such actual injury is an element of that offense.)

       In a final comment concerning the assault statute, the defendant Sandoval has raised as an

affirmative defense to each of the § 111 indictment charges the doctrine of self-defense. While it

is true the government does not have to prove Sandoval knew the alleged victims were

Metropolitan Police officers (the status or identity element is a question of law for the court),

Sandoval nonetheless cannot be found guilty if he acted from the mistaken belief that he or another

was threatened with an intentional tort (such as assault or offensive touching) by a private citizen—

and the evidence will show that the environment Sandoval found himself in on that January 6th day

was at times chaotic. United States v. Young, 464 F.2d 160 (5th Cir. 1972); United States v. Danehy,

680 F.2d 1311 (11th Cir. 1982); United States v. Lynch, 58 F.3d 389, 391-92 (8th Cir. 1995). Thus,
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self-defense does depend on the defendant’s state of mind, and the defense is shown when the

defendant acted on a reasonably good-faith belief that self-defense was necessary to protect against

an assault by a private citizen, and there exists reasonable doubt that the defendant knew that

private citizen in fact was a federal officer. Id.; see also Feola, 420 U.S. at 686.


RESPECTFULLY SUBMITTED:                               KUTMUS, PENNINGTON & HOOK, PC

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                                 CERTIFICATE OF SERVICE

       I hereby declare that on December 8, 2022, I electronically filed the foregoing with the
Clerk of Court using the ECF system which will send notification of such filing to the following:

Mr. Brian Brady
Ms. Holly Grosshans

                                                      /s/ Jodi A. Nissen
